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7

8

9
                              UNITED STATES DISTRICT COURT

10
                            CENTRAL DISTRICT OF CALIFORNIA
11                                       SOUTHERN DIVISON
12

13
      PAUL SAPAN,                                             Case No.:
14

15                    Plaintiff,                              COMPLAINT FOR DAMAGES,
16
              vs.                                             INCLUDING PUNITIVE
                                                              DAMAGES, INTEREST AND
17
      APEX TAX RESOLUTION, LLC a/k/a                          ATTORNEY’S FEES, AND
18    APEX STUDENT LOAN SERVICES,                             FOR INJUNCTIVE RELIEF
19    also a/k/a FIDELITY TAX RELIEF and
20
      FIDELITYTAXRELIEF.COM, a                                Violation(s) of Telephone
      California Limited Liability Company,                   Consumer
21
      MAYADA ABDULLAH, an individual,                         Protection Act of 1991
22    and GAZI ABDULLAH, an individual,                       Trespass to Chattel
23                                                            Unfair Business Practices
                      Defendants.
24

25

26           COMES NOW Plaintiff PAUL SAPAN (hereinafter referred to as
27   “Plaintiff”) who alleges as follows:
28



                                                        -1-
     ________________________________________________________________________________________________________

                                                    Complaint
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1                              JURISDICTIONAL ALLEGATIONS
2            1.      Plaintiff is, and at all times herein mentioned was, a resident of the
3    County of Los Angeles, but has recently moved to the County of Orange, State of
4    California.
5            2.      Defendant APEX TAX RESOLUTION, LLC a/k/a APEX STUDENT
6    LOAN SERVICES, also a/k/a FIDELITY TAX RELIEF and
7    FIDELITYTAXRELIEF.COM (“FIDELITY TAX RELIEF”) is, and at all times
8    herein mentioned was, a Limited Liability Company, doing business in the County
9    of Los Angeles, State of California.
10           3.      Defendant MAYADA ABDULLAH is, and at all times herein
11   mentioned was, an individual doing business in the County of Los Angeles, State
12   of California, and the Registered Agent and co-owner of FIDELITY TAX
13   RELIEF.
14           4.      Defendant GAZI ABDULLAH is, and at all times herein mentioned
15   was, an individual doing business in the County of Los Angeles, State of
16   California, and the Registered Agent and co-owner of FIDELITY TAX RELIEF.
17           5.      This case is filed pursuant to the Telephone Consumer Protection Act
18   of 1991, 47 U.S.C. §227 et. seq. The U.S. Supreme Court recently decided that
19   federals courts have federal question subject matter jurisdiction over such civil
20   actions under 28 U.S.C. §§ 1331 and 1441. Mims v. Arrow Fin. Services, LLC, --
21   U.S. --, 132 S.Ct. 740, 753 (2012). The state law claim herein arises out of a
22   common nucleus of operative facts and is subject to supplemental jurisdiction
23   pursuant to 28 U.S.C. § 1367.
24           6.      At all times herein mentioned each defendant was the partner, agent
25   and employee of each co-defendant herein and was at all times acting within the
26   scope of such partnership, agency and employment and each defendant ratified the
27   conduct of each co-defendant herein (collectively referred to herein as
28   “Defendants”).

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                                                    Complaint
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1                                       FACTUAL SUMMARY
2            7.      Defendants made six (6) prerecorded calls to PAUL SAPAN’s home
3    phone number (310-444-1999) wherein they tried to pitch their debt consultancy
4    services on the following dates and times and using the following Caller ID
5    (“CID”) number:
6                     April 13, 2015 at 2:36pm, CID 310-409-1529
7                     April 14, 2015 at 1:45pm, CID 310-409-1529
8                     April 16, 2015 at 1:27pm, CID 310-409-1529
9                     April 20, 2015 at 1:59pm, CID 310-409-1529
10                    April 22, 2015 at 3:40pm, CID 310-409-1529
11                    April 27, 2015 at 2:08pm, CID 310-409-1529
12           8.      Mr. Sapan’s home phone has been listed on the federal “Do Not Call”
13   registry maintained by the Federal Trade Commission from December 23, 2007 to
14   the present.
15           9.      While each of the calls complained of above used the same Caller ID
16   number, none of them transmitted any Caller ID name information as required by
17   law. 47 C.F.R. § 64.1601(e).
18           10.     Mr. Sapan did not answer the first, third, fourth, and sixth calls, but all
19   calls used the same CID and are attributable to defendants as detailed below.
20           11.     On April 14, 2015 at 1:45pm Defendants called Mr. Sapan’s home
21   telephone and immediately after he picked up a prerecorded message played
22   pitching tax debt consultancy services but did not give the caller’s name, merely
23   saying “press 1 if interested”.
24           12.     Mr. Sapan, trying to determine the identity of the caller pressed one.
25           13.     A live representative came on the line who introduced his company as
26   FIDELITY TAX RELIEF.
27

28



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1             14.    Mr. Sapan, having discovered the caller’s identity, told the caller that
2    Mr. Sapan’s number was on the Do Not Call Registry and told him to never call
3    again.
4             15.    As stated above, Mr. Sapan did not answer the next couple calls,
5    which came in the very next day and a few days after that.
6             16.    Mr. Sapan did answer the fifth call made by Defendants on April 22,
7    2015 at 3:40pm, and exactly like the previous call he answered the same
8    prerecorded message was played asking him to press one if interested.
9             17.    Mr. Sapan was annoyed and pressed one to again forcefully instruct
10   them not to call anymore, but almost immediately after the live representative
11   came on the line and named his company as FIDELITY TAX RELIEF the
12   representative hung up.
13            18.    Mr. Sapan has some experience with junk calling campaigns like this
14   and believes it most likely once the live representative came on he recognized Mr.
15   Sapan’s number or name from the call some days before and hung up to try to
16   avoid liability.
17            19.    In any event for the calls Mr. Sapan did not answer he alleges on
18   information and belief that that these calls were made by Defendants for the same
19   telemarketing purpose as in all the calls he answered, which all used the exact
20   same CID number, played the same prerecorded message, and had the same self-
21   identification as FIDELITY TAX RELIEF once a live representative came on the
22   line.
23

24                             Liability of FIDELITY TAX RELIEF
25            20.    During the calls Mr. Sapan answered, the FIDELITY TAX RELIEF’s
26   representatives consistently admitted they were with FIDELITY TAX RELIEF.
27            21.    There are complaints online about illegal telemarketing from
28   Defendants tending to indicate a pattern consistent with the calls herein including

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                                                    Complaint
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1    the time frame of the calling campaign. (See, e.g.,
2    https://800notes.com/Phone.aspx/1-310-409-1529).
3            22.     And there are legal complaints filed against FIDELITY TAX RELIEF
4    and its owners for their illegal calling and deceptive practices, not the least of
5    which is a Cease and Desist and Restitution Order from the Connecticut
6    Department of Banking. (Available at
7    http://www.ct.gov/dob/cwp/view.asp?a=2246&q=558260).
8

9     Liability of MAYADA ABDULLAH, an individual, and GAZI ABDULLAH
10           23.     In its official corporate records filed with the California Secretary of
11   State, APEX TAX RESOLUTION, LLC a/k/a FIDELITY TAX RELIEF’s address
12   was listed as 41398 Mandra Street, Murrieta CA 92562. And, at the time relevant
13   to this Complaint, this same address was the home address for GAZI ABDULLAH
14   and MAYADA ABDULLAH. (See, e.g., https://neighbor.report/address/41398-
15   Mandra-St-Murrieta-CA-92562-USA/77822510_id/).
16           24.     Defendant MAYADA ABDULLAH is, and at all times herein
17   mentioned was the Registered Agent and one of the two co-owners of FIDELITY
18   TAX RELIEF.
19           25.     Defendant GAZI ABDULLAH is, at all times herein mentioned was
20   the “Business Manager” and one of the two co-owners of FIDELITY TAX
21   RELIEF. (See, e.g., https://www.checkbca.org/report/apex-tax-resolution-llc-
22   100106323).
23           26.     Defendant GAZI ABDULLAH is, at all times herein mentioned was
24   the Administrative Contact listed for Defendant FIDELITY TAX RELIEF on the
25   website registration for www.fidelitytaxrelief.com.
26           27.     Plaintiff has searched public records such as federal employer
27   Identification Number registries and can find no record that FIDELITY TAX
28



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1    RELIEF ever employed anyone other than the co-owners who could have made the
2    calls in question herein.
3            28.     Plaintiff alleges on information and belief that Defendants
4    MAYADA ABDULLAH and GAZI ABDULLAH made the violative calls,
5    ordered them made, knew the calls described above were being made and did
6    nothing, or was willfully and recklessly ignorant of the fact his company was
7    making the calls described above.
8

9                         Actual Harm & Willful and Knowing Conduct
10           29.     Mr. Sapan is angered and annoyed by these junk calls and has been
11   harmed by the waste of his time during the calls themselves, the waste of time in
12   having to break from other important tasks and spend time catching up after these
13   junk calls, the waste of telephone service which he and not Defendant must pay
14   for, the costs of having to pursue legal remedies, and in the aggravation and
15   intrusion on his privacy of having to listen to the insistent metallic jangling of a
16   phone ringing in his home whether he answered a particular call or not.
17           30.     As a proximate result of these intrusions, Plaintiff suffered damage in
18   an amount according to proof, but no less than 5% of his monthly phone bill in
19   April 2015 since Defendant’s calls constituted 5% or more of the total calls to his
20   phone during the height of their junk calling campaign.
21           31.     Plaintiff alleges on information and belief that Defendant made the
22   calls described above intentionally, in the sense that the number called was the one
23   they meant to call in pitching their services and that Defendant made no effort to
24   check with or comply with the National Do Not Call Registry.
25           32.     Plaintiff alleges on information and belief that Defendant made the
26   calls described above knowing that they were made in contravention of the TCPA
27   and other telemarketing laws and regulations
28



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1                                    FIRST CAUSE OF ACTION
2              [TCPA Violation – Prerecorded Telesolicitation – For All 6 Calls]
3
             33.     Plaintiff realleges all paragraphs above and incorporates them herein
4
     by reference.
5
             34.     Plaintiff is bringing this action pursuant to the provisions of the
6
     Telephone Consumer Protection Act of 1991 (47 U.S.C. §227 and 47 C.F.R.
7
     §64.1200 – “TCPA”).
8
               35. Subdivision (b) (1) (B) of Section 227 of Title 47 of the United States
9
     Code makes it unlawful for any person to “initiate any telephone call to any
10
     residential telephone line using an artificial or prerecorded voice to deliver a
11
     message without the prior express consent of the called party, unless the call is
12
     initiated for emergency purposes or is exempted by rule or order of the
13
     Commission under paragraph (2) (B);”
14
               36. Defendants have called Plaintiff’s residential telephone line, using an
15
     artificial or prerecorded voice to deliver a message, without Plaintiff’s express
16
     permission during the statutory period of the last 4 years, pursuant to 28 U.S.C. §
17
     1658. These calls are the only calls known to Plaintiff at this time and Plaintiff
18
     states on information and belief, without yet having the aid of full discovery, that it
19
     is quite likely that Defendant has made many more violative calls to Plaintiff’s
20
     residential telephone line. These calls were not made for any emergency purpose,
21
     nor were these calls exempt under subdivisions (a) and/or (c) of section 64.1200 of
22
     title 47 of the Code of Federal Regulations.
23
               37. Subdivision (b)(3) of section 227 of title 47 of the United States Code
24
     permits a private right of action in state court for violations of 47 U.S.C. §227 (b)
25
     (1) (B). Plaintiff may obtain relief in the form of injunctive relief, or Plaintiff may
26
     recover $500.00 for each violation, or both. If the court finds that defendants'
27
     violations were willful or knowing, it may, in its discretion, award up to three
28



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                                                    Complaint
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1    times that amount.
2

3                                  SECOND CAUSE OF ACTION
4                     [TCPA Violation – Do Not Call List – For All 6 Calls]
5

6              38. Plaintiff realleges all paragraphs above and incorporates them herein
7    by reference.
8              39. Plaintiff is bringing this action pursuant to the provisions of the
9    Telephone Consumer Protection Act of 1991 (47 U.S.C. §227 and 47 C.F.R.
10   §64.1200 – “TCPA”).
11             40. Subdivision (c) (2) of Section 64.1200 of Title 47 of the Code of
12   Federal Regulations makes it unlawful for any person to “initiate any telephone
13   solicitation” to “A residential telephone subscriber who has registered his or her
14   telephone number on the national do-not-call registry of persons who do not wish
15   to receive telephone solicitations”.
16             41. At all times relevant to this complaint, Plaintiff had registered his
17   residential telephone number on the national do-not-call registry maintained by the
18   U.S. Government.
19             42. Defendants have called Plaintiff’s residential telephone line for
20   solicitation purposes during the statutory period of the last 4 years, pursuant to 28
21   U.S.C. § 1658. These calls are the only calls known to Plaintiff at this time and
22   Plaintiff states on information and belief, without yet having the aid of full
23   discovery, that it is quite likely that Defendant has made many more violative calls
24   to Plaintiff’s residential telephone line. These calls were not made in error, nor did
25   Defendant have express permission from Plaintiff to call, nor did Defendant have a
26   personal relationship with Plaintiff. 37 C.F.R. § 64.1200 (c) (i), (ii), & (iii).
27             43. Subdivision (c)(5) of section 227 of title 47 of the United States Code
28   permits a private right of action in state court for violations the national do-not-call

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     ________________________________________________________________________________________________________

                                                    Complaint
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1    registry rules promulgated thereunder. Plaintiff may obtain relief in the form of
2    injunctive relief, or Plaintiff may recover $500.00 for each violation, or both. If
3    the court finds that defendants' violations were willful or knowing, it may, in its
4    discretion, award up to three times that amount.
5

6                                    THIRD CAUSE OF ACTION
7                  [Violation(s) of California Civil Code § 1770 (a) (22) (A) –
8                            For All 6 Prerecorded Telesolicitation Calls]
9
               44. Plaintiff realleges all paragraphs above and incorporates them herein
10
     by reference.
11
               45. California Civil Code § 1770 (a) (22) (A) requires that all recorded
12
     messages disseminated within the state be introduced by a live, natural voice
13
     giving the name of the entity calling, the name of the entity being represented, an
14
     address or phone number for that entity, and asking permission to play the
15
     recording. Defendant’s illegal prerecorded telemarketing calls to Plaintiff failed to
16
     comply with this requirement.
17
               46. As a proximate result of defendants’ violation of Civil Code section
18
     1770, plaintiff has suffered and continues to suffer damages in an amount not yet
19
     ascertained, to be proven at trial.
20
               47. Civil Code section 1780 (a) (2) provides for an injunction against
21
     future conduct in violation of Civil Code section 1770.
22
               48. Civil Code section 1780 (a) (4) provides for an award of punitive
23
     damages for violations of Civil Code section 1770.
24
               49. Civil Code section 1780 (d) provides for an award of attorneys fees
25
     for plaintiffs harmed by California Civil Code §1770 (a) (22) (A) violations.
26
               50. Civil Code section 1782 requires that, thirty days or more prior to the
27
     commencement of an action for damages pursuant to this title, Plaintiff give notice
28



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                                                    Complaint
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1     in writing via certified mail with return receipt requested of his claims under Civil
2     Code section 1770. Plaintiff did so by having his attorneys send a written cease
3     and desist and demand letter via certified mail with return receipt requested to
4     Defendants at their principal places of business well over 30 days prior to the filing
5     of the instant action.
6

7                                   FOURTH CAUSE OF ACTION
8                                [Trespass to Chattel – For All 20 Calls]
9
                 51. Plaintiff realleges all paragraphs above and incorporates them herein
10
      by reference.
11
                 52. The conduct by defendants complained of herein, namely illegally
12
      calling Plaintiff’s phone, constitutes an electronic trespass to chattel.
13
                 53. At no time did Plaintiff consent to this trespass.
14
                 54. As a proximate result of these intrusions, Plaintiff suffered damage in
15
      an amount according to proof, but no less than 5% of his monthly phone bill in
16
      April 2015 since Defendant’s calls constituted 5% or more of the total calls to his
17
      phone during the height of their junk calling campaign.
18
                 55. In making the illegal calls described above, defendants were guilty of
19
      oppression and malice, in that defendants made said calls with the intent to vex,
20
      injure, or annoy Plaintiff or with a willful and conscious disregard of Plaintiff's
21
      rights. Plaintiff therefore seeks an award of punitive damages.
22

23
              WHEREFORE Plaintiff prays for judgment against defendants, and each of
24
      them, as follows:
25
      On the FIRST CAUSE OF ACTION:
26
            1.    For an award of $500.00 for each violation of 47 U.S.C. §227;
27
            2.    To be trebled for each such violation found to have been willful;
28



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1     On the SECOND CAUSE OF ACTION:
2           3.    For an award of $500.00 for each violation of 47 C.F.R. §64.1200 (c) (2);
3           4.    To be trebled for each such violation found to have been willful;
4     On the THIRD CAUSE OF ACTION:
5           5.    For compensatory damages according to proof;
6           6.    For preliminary and permanent injunctions, enjoining Defendants, and
7                 each of them, from engaging in activity in violation of California Civil
8                 Code §1770 (a) (22) (A);
9           7.    For punitive damages;
10          8.    For attorney’s fees;
11    On the FOURTH CAUSE OF ACTION:
12          9.    For compensatory damages according to proof;
13          10. For punitive damages;
14    On ALL CAUSES OF ACTION:
15          11. For attorney’s fees pursuant to California Code of Civil Procedure §
16                1021.5.
17          12. For costs of suit herein incurred; and
18          13. For such further relief as the Court deems proper.
19

20

21
      DATED: May 4, 2018                                      PRATO & REICHMAN, APC
22

23

24
                                                              /s/Christopher J. Reichman, Esq.
25                                                            By: Christopher J. Reichman, Esq.
26                                                            Prato & Reichman, APC
                                                              Attorneys for Plaintiff
27
                                                              PAUL SAPAN
28



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      ________________________________________________________________________________________________________

                                                     Complaint
